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                        IN THE UNITED STATES DISTRICT COURT FOR THE
                                 MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION

MI FAMILIA VOTA EDUCATION FUND,
as an organization, MURAT LIMAGE,
PAMELA GOMEZ,

          Plaintiffs,
                                                               Civil Action No.: 8:12-cv-01294-JDW-MAP
                          v.

KEN DETZNER, in his official capacity as
Florida Secretary of State,

          Defendant.

       NOTICE OF DECISION IN SHELBY COUNTY STRIKING DOWN SECTION 4(b)

           Defendant, Florida Secretary of State Kenneth W. Detzner (“Secretary”), respectfully

gives notice that the Supreme Court has issued a decision in Shelby County., Ala. v. Holder,

wherein the Supreme Court “declare[d] §4(b) unconstitutional.” No. 12-96 (June 25, 2013).1

“The formula in that section can no longer be used as a basis for subjecting jurisdictions to

preclearance.” Id. at 24. Invalidation of the coverage formula obviates the need for further

litigation in this case because it eliminates the only basis of this action—Section 5’s preclearance

requirement. (See ECF No. 20 ¶¶ 2, 61-65). Florida’s five covered counties are no longer

“covered” and subject to Section 5.




1
    A true and correct copy of the Court’s slip opinion is attached as Exhibit A.
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                                             Respectfully submitted,


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                 Counsel for Defendant, Secretary of State Kenneth W. Detzner


                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was served by

filing via CM/ECF this 25th day of June, 2013, on the following:

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